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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 DONNA CURLING, ET AL.,
 Plaintiffs,
                                                  Civil Action No. 1:17-CV-2989-AT
 v.

 BRAD RAFFENSPERGER, ET AL.,
 Defendants.

      DECLARATION OF DAVID D. CROSS IN SUPPORT OF CURLING
      PLAINTIFFS’ REPLY MOTION FOR PRELIMINARY INJUNCTION

        David D. Cross, pursuant to 28 U.S.C. § 1746, declares under penalty of

perjury that the following is true and correct:

        1.   I am a member of the bars of the State of New York and the District of

Columbia. I am a partner with the law firm of Morrison & Foerster LLP and lead

counsel in this case representing Plaintiffs Donna Curling, Donna Price, and Jeffrey

Schoenberg (the “Curling Plaintiffs”) in the above-captioned matter. I have been

admitted pro hac vice in these proceedings. This Declaration is given based on my

personal knowledge of the facts set forth herein and is given in connection with my

firm’s representation of the Curling Plaintiffs.




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       2.    The document attached as an exhibit to this Declaration is a true and

correct copy of the document cited in the contemporaneously filed Curling

Plaintiffs’ Reply Memorandum in Support of Motion for Preliminary Injunction.

       3.    Attached as Exhibit A to this Declaration is a true and correct copy of

Smartmatic USA’s Election Management System proposal in response to the State

of Georgia’s solicitation of a statewide voting system.



       I declare under penalty of the perjury laws of the State of Georgia and the

United States that the foregoing is true and correct and that this declaration was

executed this 16th day of December, 2019, in Washington, D.C..



                                             /s/ David D. Cross_____________
                                             David D. Cross




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0-3 Proposed SVS_SMMT
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Thank you for the opportunity to propose a solution for Georgia’s next statewide voting system. We
are pleased to offer you a Proposal for this unique voting system and would like to take a moment to
tell you why:

It’s different and it’s better

The proposed system entered development the latest of any system you will see. It is not held back by
legacy architectures and instead was architected by a mix of people from elections and from people
from other high technology industries- people with fresh perspectives on how to make elections more
secure and efficient.

Everyone using our proposed system ends the process with a scannable paper ballot. That ballot looks
and feels the same regardless of how it was marked. No voter’s ballot looks different because they
used an accessible voting mode. …and there are no results barcodes anywhere in this system.

The all-COTS approach shatters the paradigm around voting system lifecycle, instead allowing an
inexpensive technology re-fresh every five years. The replaced devices can be used in the schools or
other public entities since it will have been utilized only a few days a year. The COTS approach also
provides for less training needs due to hardware and interfaces already familiar to the poll worker,
easier disaster recovery, and simplified repair among other reasons.

Who is the “we” behind: “it’s better”

This Proposal is authored by a partnership between Smartmatic, Clear Ballot Group and
DemTech. Each is a leader in innovation and have a tremendous record of success. Smartmatic is the
world’s largest elections company and brings nation-level deployment expertise, a 660 person staff,
and the greatest financial strength of any provider in the industry. Clear Ballot pioneered a huge
departure from other providers’ architectures: all-COTS equipment, discernment of voter marks using
the whole ballot for context, start from an auditing standpoint, and a seamless fabric of
security. Advocate software from DemTech powers Smartmatic ePollbook hardware to provide a
powerful yet lightweight voter check-in and voting machine activation center for the polling place. Also,
every member on our TEAM that works on the new Georgia Voting System post award will have gone
through an FBI and State Police background check.



--Kevin Shelly, President, Smartmatic USA




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While it would be easy to consider Georgia as just another in-person, touchscreen voting State, such a
characterization would be extremely short-sighted. Georgia pioneered the use of touchscreen voting
systems. By continuing to reap the advantages a statewide voting system brings and by continuing the
use of touchscreen voter interfaces (even in the face of ill considered opposition) Georgia continues its
pioneering ways. Smartmatic is well known as a pioneer in voting system architecture, usability and
security and as a leader in its service offering. The system we propose offers these differentiators, and
others, that benefit Georgia election officials and voters: an all Commercial-off-the-Shelf (COTS)
offering that shatters the ten to twelve year paradigm of a voting system lifecycle and instead offers
inexpensive upgrades as technology progresses similarly, obsolescence proofing through that all-COTS
architecture. As technology changes, the State moves forward along with it security via
COTS scalability as CCOS grows universal usability through a pure implementation of the Anywhere
Ballot.

Smartmatic has partnered with some of the most forward thinking companies to provide a full election
solution that is integrated to provide an optimal experience to all users, whether it is the voter, the
poll worker / election official or activist in terms of usability, accuracy and security. The products and
partners that Smartmatic offers to cover the needs of the State of Georgia are:




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1       ePoll Data Management Systems: VIU & Advocate

The Advocate Precinct Management System gives you the power to address many challenges whilst
maintaining control of what's going on at the precinct and early voting centers. Delivering a consistent
and flawless administration to the process of legitimate ballot access for a voter is crucial to any
election and Advocate covers it all.

We are passionate about our commitment to managing with consistency the access right for any voter
to their ballot and Advocate has proven itself again and again through two presidential cycles and
across thousands of elections with vary complexity that it can deliver every time.

Thanks to the simple interface for poll workers and judges, with minimal training, poll workers can
process voters faster than ever — even in the case of exceptions, such as election day registrations.
Poll workers simply scan an approved credential, like driver’s licenses to find voters in the database, or
they can use the system’s greatly simplified search features. Lines move quickly, errors are reduced,
reports are generated quickly and the entire experience is streamlined for poll workers, election
officials and voters.

Managing hundreds or thousands of poll books in the field requires an endpoint security product and
model that guarantees the latest security architecture. Advocate includes a complete set of remote
management agents which secure the Advocate poll books as endpoints. These agents monitor the poll
book network and report back on changes, concerns, hardware issues in real-time if they occur.

The diagram demonstrates how the network operates but the simplicity is all based on automated self
discovery at the precinct so no complicated setup, configurations are required, instead a completely
secure private network is established in the precinct and between precincts if required.




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VIU Desktop Platform

Smartmatic supports SVS with the optimization of their voter management and poll worker processes.
The purpose of voter management is to create an accurate voter database, which helps to guarantee
the one voter one vote principle during elections. Poll workers rely on their election commissions for
the right tools, which allow them to not only verify a voter’s identity on Election Day, but also to execute
all their important responsibilities efficiently, while enforcing regulations.

To achieve these purposes, Smartmatic has developed a modular, multi-functional platform. The VIU-
Desktop unit represents an all-inclusive registration/verification solution to capture and verify citizen’s
biographic information through use of a bar code reader.




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2       Election Management System: ClearVote 1.5

ClearVote is the best solution for Georgia because it's the only system built on modern technology, it's
the most auditable system on the market today and its uniformity ensures every voter has an identical
paper ballot, regardless of their use of accessible technologies. We believe ClearBallot is the right
system for Georgia because:

2.1     1. M O D E R N T E C HN O L O GY F O U N D AT IO N

ClearVote is the only voting system that was built in a browser-based architecture. This provides
significant value to jurisdictions by allowing officials to leverage familiar navigation tools often seen on
an internet browser. ClearVote does this all on a closed network, which ensures the security of the
system while maximizing its efficiency.

Additionally, the ClearVote system is easy to use and adaptable to potential changes in legislation.

2.2     2. A U D IT A B IL I T Y

According to the Department of Homeland Security, auditability is the most important requirement
jurisdictions should consider when evaluating new voting systems. The ClearVote system has
established itself as the most auditable and reliable voting system on the market because of how the
system preserves the voter’s original ballot and never uses a summary or barcode ballot.

ClearVote never tabulates votes from a system generated barcode, instead it preserves the digital
ballot images. ClearVote also compliments additional statistical audit methods (like Risk Limiting
Audits) providing digital evidence to validate the final count.

2.3     3. U N IF O RM IT Y

ClearVote ensures the anonymity of the vote by providing an identical paper ballot for every voter,
including ballot marking devices and absentee voters. No matter how voters mark, verify, and cast their
ballots ClearVote records the voter’s selections identically.

ClearVote believes in paper ballots that cannot be distinguished from voter marked paper ballots,
regardless of the method of voting. This also provides the highest level of voter verifiability. Our
system does not tabulate from barcodes.

The following discussion is in addition to the attached System Overview:




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Figure 1 ClearVote Overview Diagram-01.png

ClearDesign EMS

For most of our customers, the ClearDesign EMS functions at the individual county level. Counties
either import election data or build templates and add election data to them. There are several
methods to allow state level ballot building, depending on the format of the election data to be
imported.

       a. Statewide contests are imported or built into ClearDesign, creating an election template to
          which county specific election data can be added for each county.

       b. All election data, statewide and county specific, is imported separately for each county. With
          one ClearDesign server, many workstations can be accommodated so that ballot building can
          occur for many counties at the same time. All data is stored on the shared server, and is
          available on any workstation.

       c. As a service, Clear Ballot can receive all election import data and parse it into county specific
          files and build ballots for each county. Either the state or individual counties can access their
          election proofing reports through a web service running an identical copy of the ClearDesign
          software. When the election has been proofed, election files can be downloaded from the
          web service, delivered via secure transmission, or a hashed backup of the election can be
          securely delivered to be imported into the secure ClearDesign server on site to generate
          election files for each county.



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         d. Is a browser-based user interface easy to use. Election department staff can quickly
            generate, modify, and proof all their ballot styles for a wide range of card sizes and review
            and modify each ballot individually using drag & drop capabilities.

Clear Ballot will coordinate with the state's other election vendors (VR, EPDMS, EPoll, ENR) to ensure
trouble free data transfers and communication between systems.




Clear Access. Is an in-person ballot marking system designed to ensure access for all voters. Operating
on unmodified off-the-shelf touchscreen computers, ClearAccess software captures voters’ choices and
prints machine-readable ballots.




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Clear Cast. The first precinct count optical scan voting system built with modern software
tools. ClearCast is built for usability and performance in a small footprint allowing for inexpensive and
simple transportation and storage.




Clear Count. ClearCount is the nation’s first browser-based central count tabulation system. Integrated
with Fujitsu and ibml commercial scanners, ClearCount can tabulate ballots created by all major voting
systems. Its high-speed scanning capabilities and easy to learn visual software, makes it an economical
solution for all counties.




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3       Election Additional Systems

3.1     E L E C T IO N -360

Election-360 is a platform that monitors the performance of key electoral processes, supports the
resolution of incidents in real time and provides live interaction with field personnel, in case of any
incident.

Election-360 provides the most comprehensive integration among election field personnel, election
devices, and the Election Management Team; from the preparation of the election, to the actual
Election Day and results publishing.

Through the use of data packages, phone calls, SMS messages, or mobile apps, this platform allows
monitoring any process, supporting incidents and live interaction, connecting all stakeholders.

As a result, Election Management Teams are now able to know instantly what happens throughout the
operation, and make corrections accordingly, improving the performance of every key process, and
ultimately contributing to the overall success of the election




3.2     B A L L O T DNA

BallotDNA is a series of tools which allow a jurisdiction to integrate the electronic delivery of online e-
ballots, mark those ballots and subsequently analyze the returned ballots from the voting public. To
deliver successfully online ballots is necessary to integrate the processes of the live production ballots
into an online delivery mechanism and subsequent printing and replication service.

BallotDNA tools deliver accurate, reliable structured replication, fast and efficient individual ballots for
every precinct and jurisdiction, ready to be integrated into the online delivery mechanism.

BallotDNA helps you deliver a service that absentee voters have been waiting for. Tailored to your
specific needs, BallotDNA provides a voter with a detailed voting experience.

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3.3     ABSENTEE BALLOT

For small Counties and/or small volumes of Absentee-by-Mail ballots, the ability of ClearCount (CSD)
to scan and tabulate ballots from small office-home office printers like the OKI B432 provisioned with
the BMD provide a low cost solution for those Counties. They can procure the appropriate ballot stock
and print their own Absentee-by-Mail ballots or small volumes for other needs, such as ballot brought
to nursing homes or similar facilities.




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4         Accessibility features for voters with disabilities.

Within this experience, the voter interacts with the software through the ATI device to move through
the ballot (contests and choices), make selections and even review the selections. There are several
ways to use the ATI through the voting experience:

    •     Audio. In this scenario, the voter uses a stereo headphone connected to the ATI device to hear
          the audio files (instructions, choices and contest names) played by the software. As soon as the
          audio voting experience starts, the voting screen turns black, providing the voter total privacy.

    •     Audiovisual. The main difference in comparison to the Audio voting experience is that in this
          case the voting screen is available to provide feedback to the voter, such as current contest and
          options selected so far.

    •     Sip&Puff. Within this experience, the voter interacts with the software through a Sip&Puff
          switch connected to the ATI device, to move through the ballot (contests and choices), make
          selections and even review the selections.

    •     Buddy buttons. Within this experience, the voter interacts with the software through two
          buddy buttons connected to the ATI device to move through the ballot (contests and choices),
          make selections and even review the selections.




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5       Technical support system

Smartmatic has a development organization that never ceases to bring improvements to the product.
We would anticipate a software update immediately after the first election cycle, to optimize the
system after the State and Smartmatic obtain feedback from that first use. Following that the The State
of Georgia Office of Elections would be able to take advantage of software upgrades as defined by
contract, which would likely yield an update cycle of 12 to 18 months. The offered voting machines are
able to provide file listings and associated hash values quickly and easily, facilitating audits of the
software in deployed units. Together the State and Counties could publish an audit plan and schedule
so that, independent of Smartmatic, the Counties could audit the integrity of their equipment.
Smartmatic is willing to escrow code to the State, with release triggers representing the norms for
voting systems (bankruptcy of the system provider, election contest, etc).

In a similar spirit of collaboration and openness, Smartmatic will share changes associated with all code
releases to the State and Counties, and will provide to them the recommended practices for securing
their system. Smartmatic is a member of the DHS Elections Infrastructure Sector Coordinating Council
and as such receives up to date information regarding emerging election security threats. We will
continually synthesize that threat information into policy and tactical actions that our customers can
take, then publish recommended actions to the Counties.




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6       Training Plan - GASOS staff and County staff

Smartmatic has a proven approach to training County staff and election workers, . Smartmatic
understands that, while lessons from training can be applied broadly, each approach to training must
be individually crafted and implemented. Smartmatic also understands the unique challenges that
come with training election workers. Concepts surrounding adult learning are well understood by
Smartmatic. We proactively customize our training materials to take into account the training needs of
the election jurisdiction, and offer training materials in a variety of media to respond to the various
learning styles of trainees. We ensure that our training programs, train-the-trainer sessions, or written
training materials are clear, concise, and informative so that the trainees can absorb concepts easily
and thoroughly.having trained as many as 46,000 poll workers for one national election




Although this is a statewide deployment, Smartmatic recognizes that each County is different and
represents different challenges. While the Central Regional Team will train the State and County staff,
Smartmatic intends to use the experience of each regional team and will share best practices among
various County teams when developing and refining training materials and methods. Variations in
training models are made in response to a myriad of factors, including how the County is staffed,
election worker skill sets, and how voting equipment will be used. Adaptability is at the core of
Smartmatic's approach. Smartmatic expects that regional teams will work with Counties to combine
some training sessions. We have found that having a varied group of trainees can provide a richer flow
of ideas and, if training class sizes are appropriately limited to an appropriate trainer-trainee ratio, can
yield a better experience for all trainees.

Smartmatic has in-depth experience in developing training materials for elections throughout the world
and we fully expect that each training team will customize their approach, methods, and materials
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based upon real-world experience in training sessions as they happen. It is this type of dynamic training
model, coupled with Smartmatic's proven training methods, that makes Smartmatic's training sessions
more effective than other election system vendors.

Smartmatic generally provides instructor-led classes to provide an intimate and robust delivery of the
materials to trainees. This approach is augmented by making training materials available via the
internet. Online training materials can be used by trainees and others to reference information at times
convenient to them, to review concepts covered in training sessions, and gain added insight into
themes presented by trainers.

Smartmatic also understands the need to connect with and train members of the voter advocacy
community. Training voter advocates on voting systems is sometimes avoided by election management
bodies. Providing specific training to these types of stakeholders, however, can demystify the process
and can greatly increase the effectiveness of third-party voter education efforts. Ensuring that voter
advocates possess accurate information about the operation of the voting equipment can be invaluable
in helping marginalized voters, including language minority populations and voters with physical
challenges, successfully navigate the system and successfully cast their ballots.




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7         Training Plan - Voter Education and Outreach

As mentioned in Appendix C of the eRFP, Smartmatic includes a "...training plan and budget to educate
both voters and county election officials." We have a consultant who will be dedicated to this project
who has written and executed award winning VEO plans for large US jurisdictions. The basic areas of
the VEO program will be:

    •     Planning – working with GASOS, integrating any existing program, County involvement and
          representation

    •     Integrated, comprehensive, and strategic communications program to support the
          implementation of the statewide new voting system

    •     Customized content for each County or groups of Counties

    •     A mix of earned (paid) media and unearned media - TV/radio (PSAs and advertisement), print,
          Internet, Social Media, Billboards, transit, special event/permanent displays in each County

    •     Roadshows, demonstrations, meetings with editorial boards to brief media and influencers

    •     A special GASOS website with customized information for the Counties such and/or referral to
          the County elections website

    •     Furthermore, the VEO program will focus on three major audiences: voters, candidates, and
          the media.

The voter outreach plan will inform voters about the new voting system and the changes that will affect
them when they are marking their ballot and placing it into the precinct scanner. Smartmatic will rely
on existing best practices in the area of voter education and media relations, drawing specifically from
“Election Center Professional Practices” and the U.S. Election Assistance Commission’s Election
Management Guidelines and Quick Start Guide. Examples include posting of FAQ’s to the GASOS
website; inserts included in all State and County mailings to voters and candidates; press releases
announcing arrival of equipment, testing of equipment, deployment of equipment, and
demonstrations.

Candidates look to election officials for information on how the new equipment is tested and secured,
including details about the vote tabulation process and recount procedures. The Smartmatic team will
work with GASOS to develop a white paper describing the new voting equipment internal operational
procedures, from equipment security, testing and deployment - to pollworker chain of custody and
security at the polling place - to transmission of results and final tabulation and results reporting. This
white paper will be posted to State and County elections web sites, distributed to the media, and will
also be available in hard copy in each County elections office throughout the state.

The voter outreach plan will focus on inclusion and transparency. Through outreach to the media and
local/state agencies, machine demonstrations will be available to area groups, upon request. A cadre
of outreach leaders will be trained to respond to these requests to provide in-person, hands-on


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instruction and guidance on how to use the new voting system, including the ADA-compliant
component. Open house and tours of internal operations, specifically targeting media and candidates
are additional options that can be offered to provide information on the new equipment, allow
demonstrations, and answer questions regarding use, security, and tabulation procedures.

Examples of items to be developed for posting on the GASOS and County websites are (1) Video of
voting machine demonstrations, including use of the ADA-compliant component and how to mark a
ballot; and (2) Information kits – A ready-made compilation of fact sheets, FAQ’s, press releases, and
contact information for anyone who has additional questions or would like to request an in-person
demonstration of the new voting system. GASOS may also wish to feature a voting system
demonstration video on a popular video sharing site such as YouTube, with a link to this site posted on
State and County websites.

Smartmatic further recommends convening a group of individuals that is representative of the people
who will use any of the voter outreach materials to review drafts of materials and to provide feedback
about their usability and outreach efforts.




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8       Global Services - In Closing

The field deployment situation at the State can be summed simply as “You’re in a hurry!”. Being the
largest elections provider in the world and with the financial strength and experience of a 600
person company, the Smartmatic Global Services organization is unmatched in its ability to properly
plan and execute this enormous project.

Smartmatic has the capability to invest in the people needed to make this project a success. As you
will see detailed in subsequent sections, we will use a mix of Smartmatic employees and persons
recruited by TEKsystems, our staffing partner throughout the United States. TEKsystems raised the 65-
person team who is developing and deploying the new Los Angeles voting system. In less than one
month TEKsystems had that team in place and on the job. Smartmatic will immediately transfer and,
where needed, recruit a team to office alongside the Secretary of State team. This Atlanta based team
will lead the project and provide the daily interaction with State staff, oversight of field operations, and
training of State staff. Augmenting this team will be regional teams to execute the field
deployment. Smartmatic reviewed how State agencies divide the State and chose to model this
deployment after the regions used by Division of Family and Children Services. Their 14 regions provide
for a six County Atlanta area (two regions, 3 Counties each), then larger geographic regions in more
rural parts of the State, while keeping in mind that urban centers are scattered throughout
Georgia. These teams that will perform primarily the County warehouse renewal operations and
County training will be augmented by a much large number of persons transferred and hired for ballot
preparation, pre-LAT, and Early Voting/Election Day/post-Election support. We envision having over
400 people in the State for the 2020 Primary.

As another example: Equipment leadtimes will be an obstacle for those providers with customer
hardware and its associated long leadtimes. The all-COTS approach Smartmatic brings reduces
leadtimes. Nonetheless, we will place product on order immediately at mobilization. Not every
provider who bids will be able to do that, or they will require significant up front sums from the State
to make it happen – money that is at risk if the provider does not perform.

Smartmatic has successfully completed a number of first-time deployments of new technology. Many
of those persons are still on our staff and are involved in the preparation of this Proposal. They would
also be involved in the project. Although the State was wise to continue with touchscreen interfaces,
the Voter Education and Outreach and especially the poll worker re-training effort will be
substantial. Smartmatic successfully introduced electronic voting to the Philippines, where the
logistical challenges were matched only by the human challenges. Although eight times the number
of registered voters and with significant language and political challenges, Smartmatic overcame and
managed their first national election on a modern system. No one is saying the Georgia
implementation will be easy, far from it, but if anyone can make it happen successfully, it is Smartmatic.




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Product      Configuration Description                                            QTY

ClearVote 1.5 EAC   Certified
              1.0

              ClearDesign -     ClearDesign has a browser-based user interface 1
             EMS                that’s easy to use. Election department staff can
                                quickly generate, modify, and proof all their ballot
                                styles for a wide range of card sizes and review
                                and modify each ballot individually using drag &
                                drop capabilities.

             ClearAccess      - ClearAccess is an in-person ballot marking 30,050
             BMD                system designed to ensure access for all voters.
                                Operating     on    unmodified     off-the-shelf
                                touchscreen computers, ClearAccess software
                                captures voters’ choices and prints machine-
                                readable ballots.

             ClearCast - PPS The first precinct count optical scan voting 3,500
                             system      built   with   modern      software
                             tools. ClearCast is  built for  usability   and
                             performance in a small footprint allowing for
                             inexpensive and simple transportation and
                             storage.




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             ClearCount     - ClearCount is the nation’s first browser-based 165
             CSD             central count tabulation system. Integrated with
                             Fujitsu                     and ibml commercial
                             scanners, ClearCount can      tabulate    ballots
                             created by all major voting systems. Its high-
                             speed scanning capabilities and easy to learn
                             visual software, makes it an economical solution
                             for all counties.

ePoll        Advocate PAM    Precinct Automation Manager (PAM): PAM 1
Management                   provides the 'One Setup' management required
Software                     to manage all your poll books across all your
                             elections to:

                                •   Seamlessly control data onto and off the
                                    various devices

                                •   Manage software updates to poll books
                                    automatically

                                •   Manage reports on how the election is
                                    going in real-time updates

                                •   Have consistent access controls to the poll
                                    book secure data

                                •   Centrally    control     and    configure
                                    workflow of what     and    under   what
                                    circumstances a poll worker or judge has
                                    access to functionality

                                •   Capture signatures        and   automatically
                                    compare them

                                •   Define the way your poll books look and
                                    operate

ePoll Book   VIU Desktop     VIU Desktop is a fully integrated poll work device 8,000
                             to expedite the check-in process.*

                                •   10” capacitive touchscreen, 1280 x 800
                                    resolution

                                •   Omnidirectional barcode reader scanner

                                •   Supports   all   common     linear   1D,   2D
                                    barcodes

                                •   Auto trigger activation

                                •   Buzzer, light indicator

                                •   54W Battery for 2 hours standalone


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                               *optional 84W and 188W for up to 12 hours
                               standalone

                               *optional 2”   Manual   Cut   Thermal    printer
                               integrated

BallotDNA      BallotDNA       BallotDNA is a series of tools which allow a Opt
                               jurisdiction to integrate the electronic delivery of
                               online e-ballots, mark those ballots and
                               subsequently analyze the returned ballots from
                               the voting public.

UOCAVA         Absentee Voting BallotDNA is a series of tools which allow a Opt
                               jurisdiction to integrate the electronic delivery of
                               online e-ballots, mark those ballots and
                               subsequently analyze the returned ballots from
                               the voting public.

Election-360                    Election-360 is a platform that monitors the 1
                               performance of key electoral processes, supports
                               the resolution of incidents in real time and
                               provides live interaction with field personnel, in
                               case of any incident.




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